     Case: 1:18-cv-02031 Document #: 66 Filed: 04/30/19 Page 1 of 2 PageID #:2004



                           IN THE UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

POLYBLANK DESIGNS LIMITED,

       Plaintiff,                                         Case No.: 1:18-cv-2031

v.                                                        Judge John Z. Lee

THE PARTNERSHIPS AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

       Defendants.

                               SATISFACTION OF JUDGMENT

        WHEREAS, a judgment was entered in the above action on August 16, 2018 [60], in

 favor of Plaintiff and against the Defendants Identified in Amended Schedule A. Plaintiff

 acknowledges payment of an agreed upon damages amount, costs, and interest and desires to

 release this judgment and hereby fully and completely satisfy the same as to the following

 Defendants:

                     No.                    Defendant
                     14            Shai HuShen Aviation Co., LTD.
                     15          Shanghai HuShen Aviation Co., LTD.


        THEREFORE, full and complete satisfaction of said judgment as to above identified

 Defendants is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

 to make an entry of the full and complete satisfaction on the docket of said judgment.
Case: 1:18-cv-02031 Document #: 66 Filed: 04/30/19 Page 2 of 2 PageID #:2005
